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No           IP      Port              Hit Date UTC                         File Name                                      File Hash                             ISP            Region
 1   174.239.2.92      1390   2019‐03‐12 14:55:42     Hunter Killer (2018) [WEBRip] [1080p] [YTS.AM]   SHA1: 57537D93A76F574369DC2E573E99C3840A9FD89D   Verizon Wireless   Hawaii
 2   174.239.3.63      6598   2019‐03‐12 14:44:18     Hunter Killer (2018) [WEBRip] [1080p] [YTS.AM]   SHA1: 57537D93A76F574369DC2E573E99C3840A9FD89D   Verizon Wireless   Hawaii
 3   174.239.2.150     1746   2019‐03‐12 13:56:07     Hunter Killer (2018) [WEBRip] [1080p] [YTS.AM]   SHA1: 57537D93A76F574369DC2E573E99C3840A9FD89D   Verizon Wireless   Hawaii
 4   174.239.0.216     4092   2019‐03‐12 13:08:06     Hunter Killer (2018) [WEBRip] [1080p] [YTS.AM]   SHA1: 57537D93A76F574369DC2E573E99C3840A9FD89D   Verizon Wireless   Hawaii
 5   174.239.0.102     7493   2019‐03‐12 11:10:38     Hunter Killer (2018) [WEBRip] [1080p] [YTS.AM]   SHA1: 57537D93A76F574369DC2E573E99C3840A9FD89D   Verizon Wireless   Hawaii
 6   72.234.43.206    51233   2019‐03‐24 02:45:34     Hunter Killer (2018) [WEBRip] [1080p] [YTS.AM]   SHA1: 57537D93A76F574369DC2E573E99C3840A9FD89D   Hawaiian Telcom    Hawaii
 7   72.234.207.3     64671   2019‐03‐18 07:20:20     Hunter Killer (2018) [WEBRip] [1080p] [YTS.AM]   SHA1: 57537D93A76F574369DC2E573E99C3840A9FD89D   Hawaiian Telcom    Hawaii
 8   72.234.243.14    37315   2019‐01‐22 00:19:43     Hunter Killer (2018) [WEBRip] [1080p] [YTS.AM]   SHA1: 57537D93A76F574369DC2E573E99C3840A9FD89D   Hawaiian Telcom    Hawaii
 9   174.239.4.25     24085   2019‐01‐27 06:43:31     Hunter Killer (2018) [WEBRip] [1080p] [YTS.AM]   SHA1: 57537D93A76F574369DC2E573E99C3840A9FD89D   Verizon Wireless   Hawaii




                                                                         Exhibit "1"
